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                 EXHIBIT 4
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     WHITNEY BRADDOCK                                                July 18, 2022
     UNITED STATES vs STATE OF GEORGIA                                           1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA
·3· · · · · · · · · · · ·ATLANTA DIVISION
·4
·5· ·UNITED STATES OF AMERICA,
·6· · · · · · ·Plaintiff,· · · · ·CASE NO. 1:16-cv-03088-ELR
·7· ·vs.
·8· ·STATE OF GEORGIA,
·9· · · · · · ·Defendants.
10
11
12
13· · · · · · · · · ·VIDEOTAPED DEPOSITION OF
14· · · · · · · · · · · ·WHITNEY BRADDOCK
15· · · · · · · · · July 18, 2022 -- 9:16 a.m.
16· · · · · · · · · · · First RESA Office
17· · · · · · · · · · · 201 W. Lee Street
18· · · · · · · · · · · Brooklet, Georgia
19
20
21· · · · · · · Deborah K. Lingonis, RPR, CCR 2883
22
23
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25


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
     Case 1:16-cv-03088-ELR   Document 442-5   Filed 11/27/23   Page 3 of 3

   WHITNEY BRADDOCK                                                 July 18, 2022
   UNITED STATES vs STATE OF GEORGIA                                           69

·1· ·Cedarwood for ten years.
·2· · · ·Q.· ·And when you talk about students served for
·3· ·your funding, does that include consultative services
·4· ·or just the students enrolled in one of the sites?
·5· · · ·A.· ·Just students enrolled in one of the sites.
·6· · · ·Q.· ·Does funding for consultative services through
·7· ·some other way or do you --
·8· · · ·A.· ·No.
·9· · · ·Q.· ·Okay.· So funding is exclusively based on the
10· ·student count on the three-year waiting enrollment you
11· ·talked about?
12· · · ·A.· ·Yes.
13· · · ·Q.· ·So you've known of students to remain at
14· ·Cedarwood for ten years.· And you said earlier you
15· ·don't track an aggregate length of stay.· Do you review
16· ·length of stay periodically for students?
17· · · ·A.· ·No.
18· · · ·Q.· ·Have you had students leave Cedarwood and then
19· ·come back?
20· · · ·A.· ·Yes.
21· · · ·Q.· ·And for purposes of counting, would they be
22· ·counted -- is it counted by admission or by student?
23· · · ·A.· ·By student.· They would only be counted
24· ·once.
25· · · ·Q.· ·Okay.· Does that happen sometimes within the


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